  2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 1 of 10




                                                  2:22-cr-00019




December 15, 2021
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1     Page 2 of 10




                                             2:22-cr-00019
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 3 of 10
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 4 of 10
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 5 of 10
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 6 of 10
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 7 of 10
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 8 of 10
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 9 of 10
2:22-cr-00019-MGB   Date Filed 01/10/22   Entry Number 1   Page 10 of 10
